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 7                        UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9   KIMBERLY BARSAMIAN,                            )   1:07-cv-00316 OWW GSA
                                                    )
10                                                  )
                                                    )   ORDER REGARDING SECOND NOTICE OF
11                          Plaintiff,              )   LODGING AND REQUEST FOR IN CAMERA
                                                    )   INSPECTION BY COURT PURSUANT TO
12          v.                                      )   STIPULATION FOR PROTECTIVE ORDER
                                                    )
13   CITY OF KINGSBURG, MARTIN SOLIS, )                 (Document 21)
     individually and in his official capacity as a )
14   Police Officer for the City of Kingsburg       )
     Police Department, and DOES 1 through          )
15   100 inclusive,                                 )
                                                    )
16                          Defendants.             )
                                                    )
17
18          On July 23, 2007, the Court entered a protective order related to certain documents based
19   on a stipulation between the parties. (Document 16.) In the stipulation, Defendant City of
20   Kingsburg indicated its belief that documents requested by Plaintiff Kimberly Barsamian,
21   including the personnel file of Martin Solis, contain information that is:
22          1.      Confidential, sensitive, or potentially invasive of an individual’s privacy
                    interest as protected by Article I, § 1 to the California Constitution;
23          2.      Protected from disclosure pursuant to the provisions of California Penal
                    Code §§ 832.5 and 832.7, as well as Evidence Code § 1045;
24          3.      Substantially and sufficiently dissimilar in nature so as to be irrelevant and
                    not subject to production;
25          4.      Not generally known or available to the general public; and/or
            5.      Not normally revealed to the public or third parties or, if disclosed to third parties,
26                  would require such third parties to maintain the information in confidence.
27          Pursuant to the stipulation and order, on October 22, 2007, Defendant City of Kingsburg
28   filed a Second Notice of Lodging of Documents and Things for In Camera Inspection by Court

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 1   relating to the following documents and items: Training Documents re: Martin Solis as Identified
 2   in the Privilege Log, Bates Nos. COK001531 to COK001653 (“Solis Training Documents”).
 3   (Document 21.) The Court has been requested to conduct an in camera review of the Solis
 4   Training Documents for purposes of discovery.
 5                                                Analysis
 6          Federal Rule of Civil Procedure 26(b)(1) provides as follows:
 7          Parties may obtain discovery regarding any nonprivileged matter that is relevant to
            any party’s claim or defense--including the existence, description, nature, custody,
 8          condition, and location of any documents or other tangible things and the identity and
            location of persons who know of any discoverable matter....Relevant information
 9          need not be admissible at the trial if the discovery appears reasonably calculated to
            lead to the discovery of admissible evidence.
10
            Here, Defendant City of Kingsburg asserted a constitutional right of privacy based on the
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     California Constitution and protections from disclosure based on the California Penal Code and
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     Evidence Code sections, as well as general objections that the documents are not generally
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     known, available or revealed to the public. In federal question cases, privileges asserted in
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     response to discovery requests are determined under federal law, not the law of the forum state.
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     Fed. R. Evid. 501; United States v. Zolin, 491 U.S. 554, 562 (1989); Kerr v. United States
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     District Court for the Northern District of California, 511 F.2d 192, 197 (9th Cir. 1975). Federal
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     common law recognizes a qualified privilege for official information, also known as the
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     governmental privilege, or state secret privilege. Kerr, 511 F.2d at 198. The application of the
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     official information privilege is “contingent upon the competing interests of the requesting
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     litigant and subject to disclosure especially where protective measures are taken.” Id.
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     Government personnel files are considered official information. See Sanchez v. City of Santa
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     Ana, 936 F.2d 1027, 1033 (9th Cir. 1990) (finding city police department personnel files not
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     subject to discovery for general search). To determine whether the information sought is
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     privileged, courts must “weigh the potential benefits of disclosure against the potential
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     disadvantages.” Id. at 1033-1034. If the potential disadvantages are greater, then the privilege
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     bars discovery. Id. at 1034.
27
            Federal courts also ordinarily recognize a constitutionally-based right of privacy that can
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 1   be raised in response to discovery requests. See Breed v. United States District Court for the
 2   Northern District of California, 542 F.2d 1114, 1116 (9th Cir. 1976) (balancing invasion of
 3   minor’s privacy rights against the court’s need for ward files); Johnson by Johnson v. Thompson,
 4   971 F.2d 1487, 1497 (10th Cir. 1992), cert. den., 507 U.S. 910, 113 S.Ct. 1255, 122 L.Ed.2 654
 5   (1993) (denying discovery of names of participants in a medical study due to privacy interests of
 6   the individual participants).
 7          After conducting an in camera review, the court finds that the Solis Training Documents
 8   are confidential, but subject to disclosure to Plaintiff Kimberly Barsamian in accordance with the
 9   confidentiality provisions of the stipulated protective order. The documents are discoverable, as
10   they are relevant to either the claims or defenses in this matter and are reasonably calculated to
11   lead to the discovery of admissible evidence.
12          Insofar as the parties have not asserted privilege or confidentiality arguments specific to
13   the Solis Training Documents, the Court declines to rule on those issues at this time. To ensure
14   adequate consideration of such arguments, however, Defendant City of Kingsburg may submit
15   specific objections and/or proposed redactions of the Solis Training Documents to the Court
16   within ten (10) court days from the date of this order for in camera consideration and review
17   prior to disclosure.
18         IT IS SO ORDERED.
19      Dated:      December 28, 2007                          /s/ Gary S. Austin
     60kij8                                            UNITED STATES MAGISTRATE JUDGE
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